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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                WESTERN DIVISION

Jimmy J. Vance, Individually and on behalf
of the Wrongful Death Beneficiaries of
MILDRED VANCE, Deceased                                                               PLAINTIFF


v.                                                              CAUSE NO. 3:07CV62-SA-SAA

WINONA MANOR HEALTHCARE, LLC
CENTENNIAL HEALTHCARE PROPERTIES,
and JOHN and JANE DOES I-X                                                        DEFENDANTS


                 FINAL JUDGMENT OF DISMISSAL WITH PREJUDICE


       THIS CAUSE having come before the Court this day on joint motion of the plaintiff and the

defendants for a dismissal with prejudice, and, it having been made known to the Court that the

plaintiff and defendants have compromised and settled the claims made in the above-styled and

numbered cause and that the plaintiff has received full accord and satisfaction for all of his claims

against the defendants, the Court finds that said motion is well-taken and should be granted.

       IT IS, THEREFORE, ORDERED, that the above-styled and numbered cause be, and it is

hereby dismissed with prejudice.

       SO ORDERED, this the 23rd day of October, 2008.




                                                       /s/ Sharion Aycock____________
                                                       U.S. DISTRICT COURT JUDGE
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AGREED TO:


s/Andrew Neely
ANDREW NEELY, ESQUIRE
Attorney for Plaintiff


s/Lisa Williams McKay
LISA WILLIAMS McKAY, ESQUIRE
Attorney for Defendants
